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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

USA,
                     Plaintiffs,                              4:15CB3001
        vs.
                                                                ORDER
JOHN R. HOWE,
                     Defendants.


        IT IS ORDERED:


        As requested in the government’s motion, (filing no. 2), which is hereby granted,
Violation Notice #1752979, which was issued to defendant John R. Howe, is dismissed.


        February 24, 2015.
                                                BY THE COURT:
                                                s/ Cheryl R. Zwart
                                                United States Magistrate Judge
